         Case 17-05607-CL7                Filed 02/01/22         Entered 02/02/22 10:02:42        Doc 240        Pg. 1 of 45
CSD 1001A [07/01/18]
Name, Address, Telephone No. & I.D. No.
 Leslie T. Gladstone, Esq. (SBN 144615)
 Christin A. Batt, Esq. (SBN 222584)
 FINANCIAL LAW GROUP                                                                            February 2, 2022
 5656 La Jolla Blvd., La Jolla, CA 92037
 Telephone (858) 454-9887; Facsimile (858) 454-9596
 Attorneys for Leslie T. Gladstone, Chapter 7 Trustee


               UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
                  325 West F Street, San Diego, California 92101-6991

 In Re
 STEVEN DEUPREE,                                                                  BANKRUPTCY NO. 17-05607-CL7; Adv. Nos. 19-90101-CL;
                                                                                  Adv. No. 19-90102- CL; and Adv. No. 19-90103-CL
                                                                                  Date of Hearing: N/A
                                                                                  Time of Hearing: N/A
                                                                                  Name of Judge: Christopher B. Latham
                                                                        Debtor.



                                                                    ORDER ON
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  exhibits, if any, for a total of   45    pages. Motion/Application Docket Entry No. 233 .

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  DATED:         February 1, 2022
                                                                         Judge, United States Bankruptcy Court




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      Case 17-05607-CL7           Filed 02/01/22      Entered 02/02/22 10:02:42          Doc 240      Pg. 2 of 45
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 ORDER ON TRUSTEE'S NOTICE OF INTENDED ACTION RE: APPROVAL OF SETTLEMENT AGREEMENT AND RELEASE                              jrm
 DEBTOR: STEVEN DEUPREE,                                                 CASE NO: 17-05607-CL7


 On or about January 7, 2022, Leslie T. Gladstone (the “Trustee”) filed and served her Notice of Intended Action and
 Opportunity for Hearing seeking approval of Settlement Agreement and Release with Robert DeuPree, Lake Investments
 & Holdings, LLC, Steven DeuPree, Robyn DeuPree, and Todd Douglas Hall, solely in his capacity as Trustee of WTBMW
 2007 Charitable Remainder Unitrust U/T/D December 21, 2007, and as Protector of Adamantium Holdings Trust U/T/D
 July 21, 2008, and Capstone Properties 1, Inc., Sunfood Corp. (formerly Sunfood LLC), North American Equity Partners,
 LLC, and Teeple Hall, LLP (the “Settlement”). It appearing that no opposition was filed; and the Court finding that the
 proposed Settlement is fair, reasonable and adequate, that notice was proper, for the reasons stated in the record and
 that good cause exists to authorize the Trustee to enter into the Settlement described in the Notice of Intended Action.

 IT IS HEREBY ORDERED AS FOLLOWS:

 1. The Trustee is authorized to enter into the Settlement as described in the Notice of Intended Action attached hereto
    as Exhibit “1."

 IT IS SO ORDERED.




CSD 1001A


                                                                       Signed by Judge Christopher B. Latham February 1, 2022
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                     EXHIBIT “1”




                     EXHIBIT “1”

                                                  Signed by Judge Christopher B. Latham February 1, 2022
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CSD 2062 [12/1/2021]
Court Telephone: (619) 557-5620
www.casb.uscourts.gov
Leslie T. Gladstone, Esq. (SBN 144615)
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FINANCIAL LAW GROUP
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Telephone (858) 454-9887; Facsimile (858) 454-9596
Attorneys for Leslie T. Gladstone, Chapter 7 Trustee

           UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
            325 West F Street, San Diego, California 92101-6991


In re

STEVEN DEUPREE,                                                                       BANKRUPTCY NO.   17-05607-CL7

                                                                                      Adv. No. 19-90101-CL; Adv. No. 19-90102-
                                                                    Debtor(s).
                                                                                      CL; and Adv. No. 19-90103-CL




                      TRUSTEE’S NOTICE OF INTENDED ACTION AND OPPORTUNITY FOR HEARING

TO THE DEBTOR, ALL CREDITORS AND OTHER PARTIES IN INTEREST:

         You are hereby notified that the undersigned Trustee proposes to:

         Compromise or settle the following controversy [description of controversy to be settled and financial impact on estate
         as required by Local Bankruptcy Rule 9019]; or


         Allowance of compensation or reimbursement of expenses by trustee in the amounts indicated below [information
         required by Federal Rule of Bankruptcy Procedure 2002(c)(2)]; or


X        Other: The Trustee seeks approval of Settlement Agreement and Release with Robert DeuPree, Lake
                Investments & Holdings, LLC, Steven DeuPree, Robyn DeuPree, and Todd Douglas Hall, solely in his
                capacity as Trustee of WTBMW 2007 Charitable Remainder Unitrust U/T/D December 21, 2007, and as
                Protector of Adamantium Holdings Trust U/T/D July 21, 2008, and Capstone Properties 1, Inc., Sunfood
                Corp. (formerly Sunfood LLC), North American Equity Partners, LLC, and Teeple Hall, LLP (the
                “Settlement”). See Exhibit A attached hereto and herein incorporated by reference for terms of the
                Settlement.

                  Wherefore, the Trustee requests that this Court approve the Settlement.


IF YOU OBJECT TO THE PROPOSED ACTION:

1.       YOU ARE REQUIRED to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
         assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption
         on Page 1 of this notice. If the case number is followed by the letter:

                  -        MM - call (619) 557-7407 - DEPARTMENT ONE (Room 218)
                  -        LA - call (619) 557-6594 - DEPARTMENT TWO (Room 118)
                  -        LT - call (619) 557-6018 - DEPARTMENT THREE (Room 129)
                  -        CL - call (619) 557-6019 - DEPARTMENT FIVE (Room 318)




CSD 2062

                                                                                 Signed by Judge Christopher B. Latham February 1, 2022
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CSD 2062 (Page 2) [12/01/2021]

2.       Within twenty-one (14)1 days from the date of this notice, you are further required to serve a copy of your
         Declaration in Opposition and separate Request and Notice of Hearing [Local Form CSD 11842] upon the
         undersigned Trustee, together with any opposing papers. A copy of these documents must also be served upon the
         United States Trustee at 880 Front Street, Ste. 3230, San Diego, CA 92101. The opposing declaration must be signed
         and verified in the manner prescribed by FRBP 9011, and the declaration must:

                  a.        identify the interest of the opposing party; and

                  b.        state, with particularity, the factual and legal grounds for the opposition.

3.       You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
         with the Clerk of the U.S. Bankruptcy Court at 325 West "F" Street, San Diego, California 92101-6991, no later than
         the next business day following the date of service.

         If you fail to serve your "Declaration in Opposition to Intended Action” and "Request and Notice of Hearing"
within the 14-day1 period provided by this notice, no hearing will take place, you will lose your opportunity for hearing, and
the Trustee may proceed to take the intended action.



Dated: January , 2022                                              /s/ Leslie T. Gladstone
                                                                    Leslie T. Gladstone, Chapter 7 Trustee
                                                                    Address: 5656 La Jolla Blvd.,
                                                                    La Jolla, CA 92037
                                                                    Phone No. (858) 454-9887




1
Depending on how you were served, you may have additional time for response. See FRBP 9006.

2
You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.

CSD 2062

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                    EXHIBIT “A”




                    EXHIBIT “A”

                                                  Signed by Judge Christopher B. Latham February 1, 2022
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 In re STEEN DEUPREE
 Case No. 17-05607-CL7

                                       EXHIBIT A
                               NOTICE OF INTENDED ACTION

        LESLIE T. GLADSTONE, the chapter 7 trustee (the “Trustee”) in the case of Steven
 DeuPree, seeks an order approving a compromise with ROBERT DEUPREE, LAKE
 INVESTMENTS & HOLDINGS, LLC, STEVEN DEUPREE, ROBYN DEUPREE, and TODD
 DOUGLAS HALL, solely in his capacity as Trustee of WTBMW 2007 Charitable Remainder
 Unitrust U/T/D December 21, 2007, and as Protector of Adamantium Holdings Trust U/T/D
 July 21, 2008 (collectively, the “Settling Defendants”), and CAPSTONE PROPERTIES 1, INC.,
 SUNFOOD CORP. (formerly Sunfood LLC), NORTH AMERICAN EQUITY PARTNERS, LLC,
 and TEEPLE HALL, LLP (collectively, the “Settling Creditors”). The Trustee, the Settling
 Defendants, and the Settling Creditors are referred to collectively as the “Parties” and individually
 as a “Party.”

                                           BACKGROUND

         A.      On or about September 15, 2017, Steven DeuPree (“Debtor”) filed a voluntary
 petition under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in United
 States Bankruptcy Court for the Southern District of California (the “Bankruptcy Court”) entitled
 In re Steven DeuPree, Case No. 17-05607-CL7 (the “Bankruptcy Case”). On or about the same
 date, the Trustee was appointed chapter 7 trustee of the bankruptcy estate (the “Estate”) in the
 Bankruptcy Case.

       B.     In accordance with the terms of the WTBMW 2007 Charitable Remainder Unitrust
 U/T/D December 21, 2007 (the “CRUT”), Todd Douglas Hall, solely in his capacity as trustee of
 the CRUT, pays a net income makeup charitable remainder unitrust annuity stream (the “Annuity
 Stream”) from the CRUT.

        C.     On or about July 17, 2008, Debtor obtained all right, title, and interest in the
 Annuity Stream and immediately thereafter transferred such right, title, and interest in the Annuity
 Stream to Advanced Equity Holdings, LP. The Trustee alleges that Debtor’s transfer of the rights
 to the Annuity Stream is an avoidable transfer and all such rights belong to the Estate. See
 Adversary Proceeding A described below.

        D.      On or about September 13, 2019, the Trustee commenced an adversary proceeding
 against Todd Douglas Hall, solely in his capacity as Trustee of WTBMW 2007 Charitable
 Remainder Unitrust U/T/D December 21, 2007, and as Protector of Adamantium Holdings Trust
 U/T/D July 21, 2008, and Steven DeuPree, Adversary Proceeding No. 19-90102-CL (“Adversary
 Proceeding A”). The Trustee’s complaint alleged causes of action for declaratory relief, turnover
 of property of estate, avoidance and recovery of fraudulent transfers specifically regarding the
 Annuity Stream, and disallowance of claim. The Trustee’s complaint also named the following
 defendants: Nevis International Trust Company, Ltd, as Trustee of Adamantium Holdings Trust

                                                    1                                 IN RE DEUPREE
                                                                                CASE NO. 17-05607-CL7
                                                                         NOTICE OF INTENDED ACTION




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 U/T/D July 21, 2008, AEH Management, LLC, Advanced Equity Holdings, LP, and Eucalyptus
 Investments, LLC (collectively, the “Nonsettling Defendants”). The Nonsettling Defendants
 failed to respond to the complaint in Adversary Proceeding A, and defaults were entered against
 them. Notwithstanding such defaults, the Trustee acknowledges and agrees that the settlement
 described herein covers all Nonsettling Defendants. Defendants Todd Douglas Hall and Steven
 DeuPree responded to the complaint and dispute the claims in Adversary Proceeding A.

         In Adversary Proceeding A, the Trustee alleges in short that in 2007-2008, Defendants
 Todd Hall and Debtor set up an elaborate asset protection scheme that involved Debtor’s transfer
 of approximately $13 million to a charitable remainder trust (CRUT) and an entity to purchase a
 $3.2 million home for Debtor. The asset protection scheme involved an annuity stream to be paid
 pursuant to a complex formula for a period of 20 years, at the end of which time the entire
 remaining assets of the CRUT are to distributed to charity. Pursuant to the terms of the CRUT,
 that annuity stream ends in about 2027. At the time the CRUT was established, Debtor received,
 in exchange for the $13 million transfer, all rights to the annuity stream and the sole membership
 interest in the entity that purchased the $3.2 million house. But shortly thereafter, Debtor
 transferred those interests to other newly formed entities as part of the scheme. The complaint
 alleges, among other things, that these transfers were made to hinder, delay, or defraud Debtor’s
 creditors in Debtor’s new litigation-prone real estate business while Debtor maintained full control
 of, and benefited from, the assets transferred.

         E.      On or about September 13, 2019, the Trustee commenced an adversary proceeding
 against Lake Investments & Holdings, LLC and Robert DeuPree, Adversary Proceeding No. 19-
 90101-CL (“Adversary Proceeding B”). Defendant Robert DeuPree is Debtor’s brother. The
 Trustee’s complaint alleged causes of action for avoidance and recovery of fraudulent transfers
 and/or insider preferences in the total amount of $155,000, and disallowance of claim. Defendants
 Lake Investments & Holdings, LLC and Robert DeuPree dispute the claims in Adversary
 Proceeding B.

         F.    On or about September 13, 2019, the Trustee commenced an adversary proceeding
 against Robyn DeuPree, Adversary Proceeding No. 09-90103-CL (“Adversary Proceeding C”).
 Defendant Robyn DeuPree is Debtor’s wife. The Trustee’s complaint alleged causes of action for
 avoidance and recovery of fraudulent transfers and/or insider preferences, and disallowance of
 claim. In short, the complaint alleges that, notwithstanding a prenuptial agreement, within four
 years before the bankruptcy filing and while Debtor was insolvent, Debtor and defendant
 commingled their asserted separate property and used Debtor’s earnings to pay for improvements
 to defendant’s asserted separate property. Defendant Robyn DeuPree disputes the claims in
 Adversary Proceeding C.

         G.     The Trustee and certain other Parties contend that the Estate may have claims
 against Teeple Hall LLP that may be assigned to such other Parties. Teeple Hall LLP disputes the
 existence and assignability of such claims.




                                                   2                                  IN RE DEUPREE
                                                                                CASE NO. 17-05607-CL7
                                                                         NOTICE OF INTENDED ACTION




                                                            Signed by Judge Christopher B. Latham February 1, 2022
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         H.    On or about September 27, 2019, creditor Teeple Hall LLP filed a Proof of Claim
 in the Bankruptcy Case in the total amount of $384,754.45 (“Claim No. 6”). The Trustee disputes
 Claim No. 6.

         I.     On or about September 30, 2019, creditor Capstone Properties 1, Inc. (“Capstone”)
 filed a Proof of Claim in the Bankruptcy case in the total amount of $9,827,049.81, as amended
 on October 2, 2019 (“Claim No. 7”). The Trustee disputes Claim No. 7.

         J.    Capstone is a wholly owned asset of the CRUT, and the CRUT is controlled by its
 trustee Todd Douglas Hall. The president of Capstone is Robert DeuPree.

        K.     On or about September 30, 2019, creditor Sunfood, LLC filed a Proof of Claim in
 the Bankruptcy case in the total amount of $374,549.27 (“Claim No. 8”). The Trustee disputes
 Claim No. 8.

         L.      On or about September 30, 2019, creditor North American Equity Partners, LLC
 filed a Proof of Claim in the Bankruptcy case in the total amount of $100,608.07 (“Claim No. 9”).
 The Trustee disputes Claim No. 9.

       The Trustee and the Settling Defendants met several times with mediator Dennis Wickham
 from October to December 2020, but were unsuccessful in resolving their disputes until now.

         The Parties have reached a resolution of their respective claims that fully and finally resolve
 the disputes between them with respect to all matters in and related to the Bankruptcy Case.

                         SUMMARY OF MATERIAL TERMS OF SETTLEMENT

        Pursuant to the terms of the Settlement Agreement and Release, which has been executed
 by the parties (the “Settlement Agreement”), but remains subject to Court approval (the
 “Settlement”), 1 Settling Defendants have agreed to pay the total amount of $372,000.00 (the
 “Settlement Amount”) to the Trustee as settlement of the claims asserted in Adversary
 Proceeding A, Adversary Proceeding B, and Adversary Proceeding C. The Settlement Amount is
 due and payable in full not later than January 31, 2022.

          To protect the Estate from a default in timely payment of the Settlement Amount, the
 Trustee has obtained the following additional obligations from Settling Defendants and their
 affiliates:

        (a)     Stipulated Judgment in the total amount of $400,000.00 plus interest and costs of
                collection executed by Steven DeuPree, Robert DeuPree, Capstone, Lake



 1
     Nothing herein shall be deemed to modify, alter, or otherwise affect the provisions of the
 Settlement Agreement. To the extent anything herein is inconsistent with the terms of the
 Settlement Agreement, the terms of the Settlement Agreement shall control.

                                                     3                                  IN RE DEUPREE
                                                                                  CASE NO. 17-05607-CL7
                                                                           NOTICE OF INTENDED ACTION




                                                              Signed by Judge Christopher B. Latham February 1, 2022
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                Investments and Holdings, LLC, and Todd Douglas Hall, solely in his capacity as
                Trustee and Protector of the above named trusts; 2 and

        (b)     Secured Guaranty of the Settlement Amount up to the amount of the Stipulated
                Judgment executed by Capstone. The Secured Guaranty is secured by Deeds of
                Trust in favor of the Trustee encumbering Capstone’s ownership interest in two real
                properties located at 4720 Panorama Drive, San Diego, CA 92116 (the “Panorama
                Property”) and 1512 Dunn Avenue, Los Angeles, CA 90063 (the “Dunn
                Property”).

         Pursuant to the Secured Guaranty, the proceeds of the sale of either or both of the Panorama
 Property and the Dunn Property shall be paid to the Trustee from escrow up to the amount of the
 Settlement Payment or, if an uncured default exists, up to the amount of the Stipulated Judgment,
 less any amounts previously received by the Trustee from the Settling Defendants under the
 Settlement Agreement, regardless of whether any default of the settlement payment exists. For
 the sake of clarity, if either or both of the Panorama Property and/or the Dunn Property is sold
 before the Settlement Payment is due, the entire net proceeds from sale of such property shall be
 paid directly to the Trustee from escrow, pursuant to the respective Deed of Trust, up to the full
 amount of the Settlement Payment, or the full amount of the Stipulated Judgment, less any amounts
 previously delivered to the Trustee under this Agreement.

          In addition to the Settlement Payment, the Settling Creditors have agreed to waive in full
 their respective unsecured Claim Nos. 6, 7, 8, and 9. These waived claims total $10,686,961.
 Waiver of these claims is a substantial benefit to the Estate and the unsecured creditors that are not
 affiliated with Debtor.

        The Settlement includes the following releases, which will remain effective regardless of
 a default in payment of the settlement amount:

        (a)     The Trustee releases Settling Defendants; and

        (b)     The Settling Defendants and the Settling Creditors release the Trustee and the
                Estate.

         The Trustee is specifically not releasing claims, if any, against the Settling Creditors and
 instead agrees to assign certain claims, if any, to Steven DeuPree and/or Capstone Properties 1,
 Inc. The assignees are solely responsible for the preparation, content, and efficacy of the
 assignment documents.

       The Trustee agrees to dismiss Adversary Proceeding A, Adversary Proceeding B, and
 Adversary Proceeding C with prejudice against the respective Settling Defendants and the

 2
     The only Settling Defendant not executing the Stipulated Judgment is Robyn DeuPree,
 Debtor’s wife. Given the additional security interests provided by the Guaranty and the financial
 resources of the remaining Settling Defendants, the Trustee agreed to except Robyn DeuPree from
 the Stipulated Judgment.

                                                    4                                  IN RE DEUPREE
                                                                                 CASE NO. 17-05607-CL7
                                                                          NOTICE OF INTENDED ACTION




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 Nonsettling Defendants within five business days after the Trustee receives the settlement payment
 in full.

        The Settlement Agreement is a good faith resolution of disputed claims and shall not be
 construed as an admission of liability by any of the Settling Defendants or any of the Settling
 Creditors.

                                             DISCUSSION

          Federal Rule of Bankruptcy Procedure 9019 provides that the Court may, upon a noticed
 motion by the Trustee, approve a compromise or settlement. 3 If the proposed compromise is
 “fair” and “equitable,” it should be approved. See Woodson v. Fireman’s Fund Ins. Co. (In re
 Woodson), 839 F.2d 610, 620 (9th Cir. 1988). In determining the fairness, reasonableness, and
 adequacy of a proposed settlement agreement, the Bankruptcy Court must consider: “(a) the
 probability of success in the litigation; (b) the difficulties, if any, to be encountered in the matter
 of collection; (c) the complexity of the litigation involved, and the expenses, inconvenience and
 delay necessarily attending it; (d) the paramount interest of the creditors and a proper deference
 to their reasonable views in the premises.” Kane v. Martin (In re A&C Props.), 784 F.2d 1377,
 1381 (9th Cir. 1986). “It is not necessary to satisfy each of these factors provided that the factors
 as a whole favor approving the settlement.” In re Pacific Gas and Elec. Co., 304 B.R. 395, 417
 (N.D. Cal. 2004).

        The Court should grant deference to the Trustee’s decision as long as there is a legitimate
 business justification. Hill v. Burdick (In re Moorhead Corp.), 208 B.R. 87, 89 (B.A.P. 1st Cir.
 1997). The compromise or settlement should be approved where it does not fall “below the
 lowest point in the zone of reasonableness.” Newman v. Stein, 464 F.2d 689, 698 (2d Cir. 1972).

         The Settlement Amount was determined by allocating the $372,000 to be paid to the Estate
 as follows: $147,000 as the projected amount of the CRUT Annuity Stream to be paid until the
 CRUT terminates by its terms in about 2017, $155,000 as the amount owed in full to resolve the
 Trustee’s claims in Adversary B, and $70,000 to compensate the estate for the assignment of
 claims and/or release of potential claims held by the Estate.

          The A&C Properties factors with respect to each Adversary Proceeding are addressed
 below.

         Adversary Proceeding A against the CRUT trustee, et al. The Trustee’s claims and the
 defendants’ asserted defenses are very complex and vigorously disputed. This adversary
 proceeding is the largest and most complex of the three adversary proceedings. An enormous
 amount of investigation, analysis, and negotiation has gone into the resolution of these disputes,
 particularly analysis of complicated tax issues regarding charitable remainder trusts. The Parties
 worked for months with mediator Dennis Wickham but were unable to resolve the dispute.
 Nevertheless, the Parties continued negotiating and analyzing various settlement alternatives and

 3
     Pursuant to Local Bankruptcy Rule 2002-2(a)(4), the Trustee may request Court approval of
 a compromise or settlement of controversy by Notice of Intended Action.

                                                     5                                  IN RE DEUPREE
                                                                                  CASE NO. 17-05607-CL7
                                                                           NOTICE OF INTENDED ACTION




                                                              Signed by Judge Christopher B. Latham February 1, 2022
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 eventually reached this global resolution. The Trustee is confident that the probability of her
 success in this adversary proceeding is more likely than not but the costs to achieve that success
 would be overwhelming. Most importantly, Defendants provided credible evidence that collection
 on a judgment would be very difficult because Defendants’ assets were nearly all fully
 encumbered. Defendants provided credible evidence that the $13 million invested in the asset
 protection scheme was not well managed. The real estate business funded by this investment was
 repeatedly sued and eventually filed its own chapter 7 bankruptcy case: Family Mortgage Options,
 LLC, a California limited liability company, dba Family Foreclosure Rescue (“FMO”), Case No.
 17-04302-CL7 filed on July 18, 2017. The best source of payment of any future judgment is the
 Annuity Stream that could be collected until about 2017. Defendants asserted that any action by
 the Trustee to obtain the current value of the Annuity Stream would result in adverse tax
 consequences that consume the entire value of the Annuity Stream. The Trustee, on the other
 hand, asserted that she could sell the annuity stream to a third-party without incurring adverse tax
 consequences. In the end, Settling Defendants—including defendants in the other adversary
 proceedings—agreed to pay the Trustee the approximate current value of the remaining Annuity
 Stream ($147,000). It must be noted, too, that payment of the Annuity Stream is not guaranteed
 and is subject to a number of factors pertaining to the litigation-prone real estate venture carried
 on by FMO’s affiliates.

         The Trustee obtained security interests in the only two unencumbered assets that would be
 available for collection on a judgment. This litigation is very complex, involving the disputed
 ability of the Trustee to interfere with the workings of a charitable remainder trust. Absent this
 settlement, the Parties would need to conduct expensive discovery, especially with respect to
 experts, regarding the asset protection scheme instituted in 2007-2008, the tax consequences of
 liquidating the charitable remainder trust six years early, and/or selling that Annuity Stream to a
 third party. The interests of creditors are discussed separately below.

         Adversary Proceeding B against Lake Investments & Holdings, LLC and Robert DeuPree.
 The Trustee’s probability of success in this adversary proceeding is very high. As a result, the
 total global settlement amount ($372,000) was calculated by assuming that the Trustee would
 prevail in Adversary Proceeding B and collect the entire $155,000 at issue.

         Adversary Proceeding C against Robyn DeuPree. In this adversary proceeding, the Trustee
 contends that, notwithstanding Debtor and Defendant’s prenuptial agreement, Debtor’s earnings
 were used to pay for improvements to Defendant’s separate property assets. The Trustee’s claims
 and Defendant’s asserted defenses require a complicated tracing of Debtor’s and Defendant’s
 asserted separate property, alleged community property, and alleged commingled funds. The
 Trustee is informed that the probability of her success is more likely than not but that collecting a
 judgment against Robyn DeuPree would be problematic. The litigation is somewhat complex in
 that it involves analysis of disputed community property and separate property issues and a
 detailed tracing of the couple’s assets from acquisition to disbursement. Moreover, in order to
 achieve the global resolution described herein, dismissal of Adversary Proceeding C against Robyn
 DeuPree is a condition. In the Trustee’s judgment, the Estate gains substantially more from the
 global settlement than could be achieved by prosecuting Adversary Proceedings A and B
 independently.

                                                    6                                  IN RE DEUPREE
                                                                                 CASE NO. 17-05607-CL7
                                                                          NOTICE OF INTENDED ACTION




                                                             Signed by Judge Christopher B. Latham February 1, 2022
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        Paramount interests of creditors. This Settlement is a global resolution of all outstanding
claims and issues in this bankruptcy case. The bankruptcy case has been pending for more than
four years and the three Adversary Proceedings for more than two years. Adversary Proceeding
B is the only action in which success for the Trustee was highly likely and the entire $155,000 as
issue will be paid to the Estate. The remainder of the settlement amount coming into the estate is
based on the amount of the Annuity Stream that may reasonably be expected to be paid by the
CRUT during the 5-6 years remaining in the charitable remainder trust.

         Moreover, the Settlement entirely waives the highly disputed unsecured claims filed by
entities alleged to be affiliates of Debtor: Teeple Hall, LLP (Claim No. 6 for $384,754), Capstone
Properties 1, Inc. (Claim No. 7 for $9,827,050), Sunfood Corp. (Claim No. 8 for $374,549), and
North American Equity Partners, LLC (Claim No. 9 for $100,608).

        The Settlement brings into the Estate at least $372,000 and reduces the amount of
unsecured claims by more than $10.6 million to a total of $771,642 without any further litigation
or claim objections. In light of (i) the potential defenses to the Trustee’s claims in Adversary
Proceeding A and Adversary Proceeding C, (ii) the ultimate costs of litigating the Trustee’s claims
as well as the Trustee’s objections to claims filed in Claim Nos. 6, 7, 8, and 9, and (iii) the
defendants’ financial condition and the limited unencumbered assets from which to pay judgments,
the Trustee believes that the Settlement is in the best interest of the estate. The Trustee has
determined that, absent this Settlement, the ultimate costs of litigating the adversary proceedings
and claim objections to judgments and then collection will not result in a better outcome for
creditors. The Trustee believes that this settlement is in the best interests of the estate and should
be approved by the Court.

                                       STATUS OF THE CASE

       The general unsecured claims in this case total $11,593,664. With this settlement, the total
general unsecured claims are reduced to $771,642. The administrative fees incurred in this very
complex and contentious case are substantial, but the Trustee is working very hard to see that a
meaningful distribution be made to the remaining general unsecured creditor, hopefully in the
range of 10%-15%. It is, however, too early to determine that amount at present, because the
settlement amount has not yet been received; it is therefore unknown whether additional attorney’s
fees may be incurred to enforce the stipulated judgment in the event of a default in payment of the
Settlement Amount. The case is therefore not ready to be closed and the Trustee’s professionals
have not yet submitted applications for compensation. This preliminary analysis is further subject
to change as priority creditors may yet file claims.

        In short, this settlement will bring in at least $372,000 to the estate to be distributed to
creditors in accordance with the priorities set forth in the Bankruptcy Code.




                                                   7                                  IN RE DEUPREE
                                                                                CASE NO. 17-05607-CL7
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                    EXHIBIT “1”




                    EXHIBIT “1”

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                         SETTLEMENT AGREEMENT AND RELEASE



       This Settlement Agreement and Release (the “Agreement”) is entered into as of the last dated
signature hereto, by and between LESLIE T. GLADSTONE (the “Trustee”), solely in her capacity as
chapter 7 trustee of the bankruptcy estate of Steven DeuPree, on the one hand, and ROBERT
DEUPREE, LAKE INVESTMENTS & HOLDINGS, LLC, STEVEN DEUPREE, ROBYN
DEUPREE, and TODD DOUGLAS HALL, solely in his capacity as Trustee of WTBMW 2007
Charitable Remainder Unitrust U/T/D December 21, 2007, and as Protector of Adamantium Holdings
Trust U/T/D July 21, 2008 (collectively, the “Settling Defendants”), and CAPSTONE PROPERTIES
1, INC., SUNFOOD CORP. (formerly Sunfood LLC), NORTH AMERICAN EQUITY PARTNERS,
LLC, and TEEPLE HALL, LLP (collectively, the “Settling Creditors”), on the other hand. The
Trustee, the Settling Defendants, and the Settling Creditors are referred to collectively as the “Parties”
and individually as a “Party.”
                                              RECITALS

       A.     On or about September 15, 2017, Steven DeuPree (“Debtor”) filed a voluntary petition
under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) in United States
Bankruptcy Court for the Southern District of California (the “Bankruptcy Court”) entitled In re
Steven DeuPree, Case No. 17-05607-CL7 (the “Bankruptcy Case”). On or about the same date, the
Trustee was appointed chapter 7 trustee of the bankruptcy estate (the “Estate”) in the Bankruptcy
Case.

      B.     In accordance with the terms of the WTBMW 2007 Charitable Remainder Unitrust
U/T/D December 21, 2007 (the “CRUT”), Todd Douglas Hall, solely in his capacity as trustee of the
CRUT, pays a net income makeup charitable remainder unitrust annuity stream (the “Annuity
Stream”) from the CRUT.

       C.      On or about July 17, 2008, Debtor obtained all right, title, and interest in the Annuity
Stream and immediately thereafter transferred such right, title, and interest in the Annuity Stream to
Advanced Equity Holdings, LP. The Trustee alleges that Debtor’s transfer of the rights to the Annuity
Stream is an avoidable transfer and all such rights belong to the Estate. See Adversary Proceeding A
described below.

        D.      On or about September 13, 2019, the Trustee commenced an adversary proceeding
against Todd Douglas Hall, solely in his capacity as Trustee of WTBMW 2007 Charitable Remainder
Unitrust U/T/D December 21, 2007, and as Protector of Adamantium Holdings Trust U/T/D July 21,
2008, and Steven DeuPree, Adversary Proceeding No. 19-90102-CL (“Adversary Proceeding A”).
The Trustee’s complaint alleged causes of action for declaratory relief, turnover of property of estate,
avoidance and recovery of fraudulent transfers specifically regarding the Annuity Stream, and
disallowance of claim. The Trustee’s complaint also named the following defendants: Nevis
International Trust Company, Ltd, as Trustee of Adamantium Holdings Trust U/T/D July 21, 2008,
AEH Management, LLC, Advanced Equity Holdings, LP, and Eucalyptus Investments, LLC
(collectively, the “Nonsettling Defendants”). The Nonsettling Defendants failed to respond to the
complaint in Adversary Proceeding A, and defaults were entered against them. Notwithstanding such
defaults, the Trustee acknowledges and agrees that this settlement covers all Nonsettling Defendants.

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Defendants Todd Douglas Hall and Steven DeuPree responded to the complaint and dispute the claims
in Adversary Proceeding A.

       E.     On or about September 13, 2019, the Trustee commenced an adversary proceeding
against Lake Investments & Holdings, LLC and Robert DeuPree, Adversary Proceeding No. 19-
90101-CL (“Adversary Proceeding B”). The Trustee’s complaint alleged causes of action for
avoidance and recovery of fraudulent transfers and/or insider preferences and disallowance of claim.
Defendants Lake Investments & Holdings, LLC and Robert DeuPree dispute the claims in Adversary
Proceeding B.

        F.     On or about September 13, 2019, the Trustee commenced an adversary proceeding
against Robyn DeuPree, Adversary Proceeding No. 09-90103-CL (“Adversary Proceeding C”). The
Trustee’s complaint alleged causes of action for avoidance and recovery of fraudulent transfers and/or
insider preferences, and disallowance of claim. Defendant Robyn DeuPree disputes the claims in
Adversary Proceeding C.

       G.      The Trustee and certain other Parties contend that the Estate may have claims against
Teeple Hall LLP that may be assigned to such other Parties. Teeple Hall LLP disputes the existence
and assignability of such claims.

       H.     On or about September 27, 2019, creditor Teeple Hall LLP filed a Proof of Claim in
the Bankruptcy Case in the total amount of $384,754.45 (“Claim No. 6”). The Trustee disputes Claim
No. 6.

        I.     On or about September 30, 2019, creditor Capstone Properties 1, Inc. (“Capstone”)
filed a Proof of Claim in the Bankruptcy case in the total amount of $9,827,049.81, as amended on
October 2, 2019 (“Claim No. 7”). The Trustee disputes Claim No. 7.

        J.    Capstone is a wholly owned asset of the CRUT, and the CRUT is controlled by its
trustee Todd Douglas Hall. The president of Capstone is Robert DeuPree.

       K.    On or about September 30, 2019, creditor Sunfood, LLC filed a Proof of Claim in the
Bankruptcy case in the total amount of $374,549.27 (“Claim No. 8”). The Trustee disputes Claim
No. 8.

       L.      On or about September 30, 2019, creditor North American Equity Partners, LLC filed
a Proof of Claim in the Bankruptcy case in the total amount of $100,608.07 (“Claim No. 9”). The
Trustee disputes Claim No. 9.

      M.      The Parties have reached a resolution of their respective claims. By and through this
Agreement, the Parties memorialize that settlement and fully and finally resolve the disputes between
them with respect to all matters in and related to the Bankruptcy Case.

       NOW, THEREFORE, for good and valuable consideration as set forth herein, the Parties,
incorporating the Recitals set forth above, hereby agree as follows:




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                                           AGREEMENT

        1.      BANKRUPTCY COURT APPROVAL. Approval of this Agreement by the
Bankruptcy Court is a condition precedent to the Agreement becoming effective. Upon receipt of the
fully executed Agreement, the Trustee will promptly file the pleadings necessary for such approval,
and the Parties hereto agree to support approval of the Agreement. If Bankruptcy Court approval is
not obtained, this Agreement shall have no force and effect and the Parties reserve all rights as to any
assertions and/or recitals contained herein.

        2.     PAYMENT. The Settling Defendants shall deliver to the Trustee one or more certified
or cashier’s checks or wire transfers in the aggregate sum of Three Hundred Seventy-Two Thousand
and 00/100ths Dollars ($372,000.00), in good and available funds, payable to “Estate of DeuPree,
Leslie T. Gladstone, Trustee” (the “Settlement Payment”) on or before January 31, 2022. Payment
shall be made payable to Estate of DeuPree, Leslie T. Gladstone, Trustee, and wired to the Trustee’s
account or delivered to Leslie T. Gladstone, Trustee, 5656 La Jolla Blvd., La Jolla, CA 92037.

         3.      STIPULATED JUDGMENT. In consideration for the Trustee’s agreement to accept
payments within 60 days rather than in full at the time of execution of this Agreement, Steven
DeuPree, Robert DeuPree, Capstone, Lake Investments and Holdings, LLC, and Todd Douglas Hall,
solely in his capacity as Trustee of WTBMW 2007 Charitable Remainder Unitrust U/T/D December
21, 2007, and as Protector of Adamantium Holdings Trust U/T/D July 21, 2008, shall execute the
Stipulated Judgment in the amount of Four Hundred Thousand and 00/100ths Dollars ($400,000.00)
plus interest at the rate of five percent (5%) per annum from the date hereof and costs of collection as
described below, which Stipulated Judgment is attached hereto as Exhibit A and incorporated herein
by reference. In the event the Trustee does not receive the $372,000.00, as described in
Paragraph 2 above and after Settling Defendants’ opportunity to cure such default as described in the
Stipulated Judgment, the Trustee may file and record the Stipulated Judgment and proceed to enforce
it, jointly and severally, against the above listed Settling Defendants.

        4.      GUARANTY AND SECURITY FOR SETTLEMENT PAYMENT AND
STIPULATED JUDGMENT. In additional consideration for the Trustee’s agreement to accept
payments over time pursuant to Paragraphs 2 and 3 above, Settling Defendants Todd Douglas Hall,
solely in his capacity as Trustee of the CRUT, and Robert DeuPree shall cause Capstone to execute a
Guaranty of the Settlement Payment up to the amount of the Stipulated Judgment, if an uncured default
exists as defined in the Stipulated Judgment, secured by Deeds of Trust in favor of the Trustee
encumbering Capstone’s ownership interest in two real properties located at 4720 Panorama Drive,
San Diego, CA 92116 (the “Panorama Property”) and 1512 Dunn Avenue, Los Angeles, CA 90063
(the “Dunn Property”). The Guaranty and Deeds of Trust shall be in substantially the same form as
those attached hereto as Exhibit B, Exhibit C, and Exhibit D, respectively.

               (a)     The Deeds of Trust shall be recorded immediately after this Agreement and all
Exhibits are executed.

               (b)    Pursuant to the Guaranty, the proceeds of the sale of either or both of the
Panorama Property and the Dunn Property shall be paid to the Trustee from escrow up to the amount
of the Settlement Payment or, if an uncured default exists, up to the amount of the Stipulated Judgment,
less any amounts previously received by the Trustee from the Settling Defendants under this


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Agreement, regardless of whether any default of the Settlement Payment exists. For the sake of clarity,
if either or both of the Panorama Property and/or the Dunn Property is sold before the Settlement
Payment is due, the entire net proceeds from sale of such property shall be paid directly to the Trustee
from escrow, pursuant to the respective Deed of Trust, up to the full amount of the Settlement Payment,
or the full amount of the Stipulated Judgment, less any amounts previously delivered to the Trustee
under this Agreement.

        5.     WAIVER OF CLAIMS BY THE SETTLING CREDITORS. The Trustee alleges that
the Settling Creditors (the creditors holding Claim Nos. 6, 7, 8, and 9) are closely associated with
Debtor and the Trustee disputes their respective claims. To resolve such dispute and in furtherance of
the settlement described herein, each of the Settling Creditors hereby expressly waives any claim
scheduled, filed, or otherwise asserted or that may be asserted by or on behalf of the Settling Creditors
against Debtor, the Estate, or the Trustee. The Settling Defendants and the Settling Creditors
acknowledge that the Trustee would not have agreed to the settlement described herein without the
complete waiver of Claims Nos. 6, 7, 8 and 9 by the Settling Creditors. The Settling Creditors
acknowledge receipt of sufficient consideration in exchange for their respective waiver of their claims
herein.

       6.      WAIVER OF CLAIMS BY THE SETTLING DEFENDANTS. Each of the Settling
Defendants expressly waives any claim scheduled, filed, or otherwise asserted or that may be asserted
by or on behalf of the Settling Defendants against Debtor, the Estate, or the Trustee.

       7.      ASSIGNMENT OF CLAIMS. In consideration of the foregoing, the Trustee shall
assign any and all claims that the Estate may have against any Settling Creditor to Steven DeuPree
and/or Capstone Properties 1, Inc. Such assignment shall be effective only after the Trustee receives
the Settlement Payment in full. The Trustee shall promptly execute and deliver such documents,
prepared by the applicable assignees, that are reasonably necessary to effectuate this assignment. Such
assignees are solely responsible for the preparation, content, and efficacy of all such documents.

        8.      DISMISSAL BY THE TRUSTEE. Within five (5) business days after the Trustee
receives the Settlement Payment in full, the Trustee shall file an executed Notice of Dismissal of
Adversary Proceeding A, Adversary Proceeding B, and Adversary Proceeding C with prejudice as
against the respective Settling Defendants and Nonsettling Defendants.

       9.       WAIVER OF CALIFORNIA CIVIL CODE SECTION 1542. The Parties agree to
waive all of their rights under Section 1542 of the California Civil Code, which provides:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT
               THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
               SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
               EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
               HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
               SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.

The Parties acknowledge that they may later discover facts different from, or in addition to, those
which they now know and believe, or should now know and believe, to be true with respect to the



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releases herein made. The Parties agree that their release is and will remain effective notwithstanding
the existence, and/or subsequent discovery, of such additional facts.

         10.   RELEASES.

                (a)     Subject to the terms and conditions of this Agreement and notwithstanding the
provisions of Section 1542 of the California Civil Code, the Trustee, and on behalf of the Estate, its
predecessors, successors, agents, employees, assigns, independent contractors, administrators,
trustees, heirs, attorneys, officers, directors, stockholders, affiliated corporations and subsidiaries,
release, acquit and forever discharge each of the Settling Defendants and its predecessors, successors,
agents, employees, assigns, independent contractors, administrators, trustees, attorneys, officers,
directors, stockholders, affiliated corporations and subsidiaries of and from any and all claims,
including without limitation claims for breach of fiduciary duties and negligence, causes of action,
rights, obligations, debts, liabilities, accounts, liens, damages, losses and expenses of any kind and
nature whatsoever, whether known or unknown, foreseen or unforeseen, patent or latent, suspected or
unsuspected, contingent or unliquidated, which any Party previously had, currently has or may have,
arising from, accrued under, relating to, or based upon any cause, matter or reason whatsoever relating
to or arising out of Adversary Proceeding A, Adversary Proceeding B, Adversary Proceeding C, Claim
No. 6, Claim No. 7, Claim No. 8, Claim No. 9, the Bankruptcy Case, and any and all claims which
could have been asserted in such proceedings, claims, and/or the Bankruptcy Case. Except as stated
above, the foregoing releases specifically exclude any claims that may arise under this Agreement and
the Stipulated Judgment regarding the enforcement or interpretation of this Agreement.

                (b)     Subject to the terms and conditions of this Agreement and notwithstanding the
provisions of Section 1542 of the California Civil Code, each of the Settling Defendants and Settling
Creditors, its predecessors, successors, agents, employees, assigns, independent contractors,
administrators, trustees, heirs, attorneys, officers, directors, stockholders, affiliated corporations and
subsidiaries, release, acquit and forever discharge the Trustee, the Estate, and the Trustee’s
predecessors, successors, agents, employees, assigns, independent contractors, administrators,
trustees, attorneys, officers, directors, stockholders, affiliated corporations and subsidiaries of and
from any and all claims, causes of action, rights, obligations, debts, liabilities, accounts, liens,
damages, losses and expenses of any kind and nature whatsoever, whether known or unknown,
foreseen or unforeseen, patent or latent, suspected or unsuspected, contingent or unliquidated, which
any Party previously had, currently has or may have, arising from, accrued under, relating to, or based
upon any cause, matter or reason whatsoever relating to or arising out of Adversary Proceeding A,
Adversary Proceeding B, Adversary Proceeding C, Claim No. 6, Claim No. 7, Claim No. 8, Claim No.
9, the Bankruptcy Case, and any and all claims which could have been asserted in such proceedings,
claims, and/or the Bankruptcy Case. Except as stated above, the foregoing releases specifically
exclude any claims that may arise under this Agreement and the Stipulated Judgment regarding the
enforcement or interpretation of this Agreement.

              (c)   The above releases remain effective regardless of a default in payment of the
Settlement Payment.

        11.    DENIAL OF LIABILITY. The Settling Defendants and the Settling Creditors dispute
the claims asserted in the Adversary Proceedings and informal claim objections, and the Parties
expressly represent, understand and assent that this Agreement is a compromise of disputed claims,

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and that the exchange of consideration by virtue of this Agreement and any other acts, omissions, or
settlements by the Parties are not to be construed as an admission of liability by the Settling
Defendants, the Settling Creditors, or any of them.

       12.    APPLICABLE LAW. This Agreement shall be governed by and interpreted, construed
and enforced pursuant to the laws of the State of California.

       13.    ENFORCEMENT AND JURISDICTION. This Agreement shall be subject to
Bankruptcy Court approval and incorporated into an order of the Bankruptcy Court approving this
Agreement, and all Parties shall submit to the jurisdiction of the Bankruptcy Court to enforce the
continuing obligations under this Agreement, and to resolve any dispute that may arise under this
Agreement.

        14.   NO ORAL WAIVER OR MODIFICATION. No waiver or modification of the terms
of this Agreement shall be binding unless made in writing and signed by all Parties.

         15.   REPRESENTATIONS AND WARRANTIES.

               (a)      Each Party represents that it has read this Agreement and is fully aware of and
understands all of its terms and legal consequences. Each Party represents that it has consulted with,
and has received advice from, independent legal counsel in connection with its review and execution
of this Agreement or had the opportunity and has declined to do so.

               (b)    The Parties have not relied on any representations, promises, or agreements
other than those expressly set forth in this Agreement.

               (c)     Each Party represents that there has not been any assignment, transfer,
conveyance, or other disposition of any rights, obligations, or liabilities released under the terms of
this Agreement, and that there will be no assignment, transfer, or purported assignment or transfer to
any person or entity whatsoever, of any claim, debt, liability, demand, obligation, cost, expense, action,
defense, or cause of action released. Each Party represents that it has the authority to enter into this
Agreement, and has obtained the consent of anyone necessary to enter into this Agreement.

                (d)    Each Party represents that any individual signing this Agreement on behalf of
a corporation, LLC, partnership, individual, as the successor in interest or administrator to the estate
of any corporation, LLC, partnership, and individual has full authority to do so (subject, in the case of
the Trustee, to approval of the Bankruptcy Court).

       16.      ENTIRE AGREEMENT. This Agreement constitutes the entire agreement made by
and between the Parties pertaining to the subject matter hereof, and fully supersedes any and all prior
or contemporaneous understandings, representations, warranties, and agreements made by the Parties
hereto or their representatives pertaining to the subject matter hereof. The Parties have not relied on
any facts, statements, or the failure by any Party to make statements or disclose facts, in entering into
this Agreement. No extrinsic evidence whatsoever may be introduced in any judicial proceeding
involving the construction or interpretation of this Agreement.

        17.     ATTORNEYS’ FEES AND COSTS. Except as otherwise expressly provided herein,
the Parties shall bear their own expenses and costs, including, but not limited to, attorneys’ fees and

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court costs. However, in any action or proceeding between or among the Parties hereto at law or in
equity with respect to, pertaining to, or arising from this Stipulation, whether for enforcement, or for
damages by reason of any alleged breach, or for a declaration of rights or obligations, or otherwise,
and including any appeal, contempt proceeding, bankruptcy proceeding, and any action or proceeding
to enforce and/or collect any judgment or other relief granted, whether or not such action or proceeding
is compromised or is prosecuted to final judicial determination (collectively “litigation”), the
unsuccessful party to the litigation shall pay to the prevailing party, in addition to any other relief that
may be granted, all costs and expenses of the litigation, including without limitation, the prevailing
party’s actual attorneys’ fees and expenses. “Attorneys’ fees and expenses” includes, without
limitation, paralegals’ fees and expenses, attorneys’ consultants’ fees and expenses, expert witness’
fees and expenses, and all other expenses incurred by the prevailing party’s attorneys in the course of
their representation of the prevailing party in anticipation of and/or during the course of the litigation,
whether or not otherwise recoverable as “attorneys’ fees” or as “costs” under California law; and the
same may be sought and awarded in accordance with California procedure as pertaining to an award
of contractual attorneys’ fees.

       18.    BINDING ON SUCCESSORS. This Agreement shall inure to the benefit of, and shall
be binding upon, each Party hereto and its successors.

       19.    SEVERABILITY. In the event any part of this Agreement is deemed unenforceable,
the unenforceable provisions will be severed and the remaining provisions shall survive.

       20.     COUNTERPARTS. This Agreement may be executed and delivered in separate
counterparts, each of which, when so executed and delivered, shall be an original, but such
counterparts together shall constitute but one and the same instrument and agreement. Facsimile
signatures shall be effective and shall have the same force and effect as original signatures.

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                                 EXHIBIT A


                     STIPULATED JUDGMENT




v.6                                       10
10697690.1



                                                  Signed by Judge Christopher B. Latham February 1, 2022
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                              1   Leslie T. Gladstone, Esq. (SBN 144615)
                                  Christin A. Batt, Esq. (SBN 222584)
                              2   FINANCIAL LAW GROUP
                                  5656 La Jolla Blvd.
                              3   La Jolla, CA 92037
                              4   Telephone: (858) 454-9887
                                  Facsimile: (858) 454-9596
                              5   E-mail: ChristinB@flgsd.com

                              6   Attorneys for Leslie T. Gladstone, Chapter 7 Trustee
                              7                              UNITED STATES BANKRUPTCY COURT
                              8
                                                              SOUTHERN DISTRICT OF CALIFORNIA
                              9
                                  In re:                                             Case No.: 17-05607-CL7
                             10
                                  STEVEN DEUPREE,                                    STIPULATED JUDGMENT
                             11

                             12                                                      Dept:        Five (5)
                                                 Debtor.                             Honorable Christopher B. Latham
La Jolla, California 92037




                             13
 5656 La Jolla Boulevard
 FINANCIAL LAW GROUP




                             14

                             15            This Stipulated Judgment is made by and between LESLIE T. GLADSTONE, chapter 7

                             16   trustee (the “Trustee”), solely in her capacity as chapter 7 trustee of the bankruptcy estate of

                             17   Steven DeuPree, on the one hand, and ROBERT DEUPREE, LAKE INVESTMENTS &

                             18   HOLDINGS, LLC, STEVEN DEUPREE, and TODD DOUGLAS HALL, solely as Trustee of

                             19   WTBMW 2007 Charitable Remainder Unitrust U/T/D December 21, 2007, and as Protector of

                             20   Adamantium Holdings Trust U/T/D July 21, 2008 (collectively, the “Settling Judgment

                             21   Defendants”), on the other hand, as follows:

                             22            1.    This document constitutes a Stipulated Judgment against the foregoing Settling

                             23   Judgment Defendants, jointly and severally, and in favor of the Trustee in the amount of Four

                             24   Hundred Thousand and 00/100ths Dollars ($400,000.00) plus interest at the rate of five percent

                             25   (5%) per annum from the date hereof and costs of collection, less any amounts paid pursuant to

                             26   the Settlement Agreement and Release (the “Agreement”), whose terms are incorporated herein

                             27   by this reference.

                             28   ///
                                  IN RE DEUPREE                                     1                          STIPULATED JUDGMENT
                                  CASE NO. 17-05607-CL7                                                                             (v.5)
                                  10697644.1

                                                                                          Signed by Judge Christopher B. Latham February 1, 2022
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                              1            2.       The Trustee is permitted to apply for entry of this Stipulated Judgment as set

                              2   forth in the Agreement. Specifically, the Trustee shall not record this Stipulated Judgment

                              3   unless the Settling Defendants default under the terms of the Agreement, as set forth more fully

                              4   therein. Should the Settling Defendants fail to timely tender the sum due the Trustee as set forth

                              5   in the Agreement, the Trustee shall provide 72 hours’ notice after delivery, as described in

                              6   paragraph 3 below, to the Settling Judgment Defendants at the addresses set forth below, and

                              7   provide the Settling Judgment Defendants the opportunity to cure such default. If cure is not

                              8   made within such 72-hour period, the Trustee shall thereafter be entitled to file and record this

                              9   Stipulated Judgment.
                             10            3.       All notices under this Stipulated Judgment shall be in writing and shall be

                             11   deemed effective on the date of delivery if delivered personally (and a receipt obtained

                             12   therefor), or on the third calendar day after mailing if mailed by first class mail, postage prepaid,
La Jolla, California 92037




                             13   and shall be addressed as follows or as may be amended by a written communication delivered
 5656 La Jolla Boulevard
 FINANCIAL LAW GROUP




                             14   pursuant to this paragraph:

                             15                 To the Setting Judgment              Mr. Robert DeuPree
                                                Defendants:                          8989 Rio San Diego Dr. #327
                             16
                                                                                     San Diego, CA 92108
                             17
                                                                                     LAKE INVESTMENTS &
                             18                                                      HOLDINGS, LLC
                                                                                     340 West 32nd Street, No. 365
                             19                                                      Yuma, AZ 85364
                                                                                     Attn: Mr. Robert DeuPree
                             20

                             21                                                      Mr. Steven DeuPree
                                                                                     15390 Las Planideras
                             22                                                      Rancho Santa Fe, CA 92067

                             23                                                      Todd Douglas Hall, Trustee
                                                                                     TEEPLE HALL LLP
                             24                                                      9255 Towne Centre Drive, Suite 500
                                                                                     San Diego, CA 92121
                             25

                             26                 with a copy to the Settling          Paul J. Leeds, Esq.
                                                Judgment Defendants’ counsel:        HIGGS FLETCHER, MACK LLP
                             27                                                      401 West A Street, Suite 2600
                                                                                     San Diego, CA 92101-7910
                             28
                                  IN RE DEUPREE                                       2                         STIPULATED JUDGMENT
                                  CASE NO. 17-05607-CL7                                                                              (v.5)
                                  10697644.1

                                                                                           Signed by Judge Christopher B. Latham February 1, 2022
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            January 7, 2022
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                                 EXHIBIT B


                                GUARANTY




v.6                                       11
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                                 EXHIBIT C


                     DEED OF TRUST
               (PANORAMA DRIVE PROPERTY)




v.6                                       12
10697690.1



                                                  Signed by Judge Christopher B. Latham February 1, 2022
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                                 EXHIBIT D


                          DEED OF TRUST
                     (DUNN AVENUE PROPERTY)




v.6                                       13
10697690.1



                                                  Signed by Judge Christopher B. Latham February 1, 2022
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                                                 Signed by Judge Christopher B. Latham February 1, 2022
